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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 NCS MULTISTAGE INC.,                          §
                                               §
    Plaintiff,                                 §
                                               §
                     vs.                       §    CIVIL ACTION NO. 6:20-cv-00277-ADA
                                               §
 NINE ENERGY SERVICE, INC.,                    §
                                               §
    Defendant.                                 §

 [PROPOSED] ORDER GRANTING PLAINTIFF’S OPPOSED MOTION TO STRIKE
       Before the Court is Plaintiff NCS Multistage Inc.’s Opposed Motion to Strike Defendant

Nine Energy Service, Inc.’s (“Nine”) Preliminary Invalidity Contentions. Having considered the

parties’ briefings, the Court hereby GRANTS the motion.

       IT IS ORDERED that Defendant Nine’s Preliminary Invalidity Contentions are stricken.

Nine is ordered to re-serve Preliminary Invalidity Contentions within 7 days of this Order.



SIGNED this ______ day of September, 2020
                                                    _____________________________
                                                    ALAN D. ALBRIGHT
                                                    UNITED STATES DISTRICT JUDGE
